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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     U.S. EQUAL EMPLOYMENT                   )   Case No. 2:21-CV-07682-DSF-JEM
11                                           )
     OPPORTUNITY COMMISSION,                 )
12                                           )   [PROPOSED] ORDER GRANTING
                 Plaintiff,                  )   PLAINTIFF EEOC’S APPLICATION
13                                           )   FOR LEAVE TO FILE UNDER SEAL
                                             )
                                             )   DOCUMENTS UNDER SEAL
14         vs,                               )
                                             )
15   ACTIVISION BLIZZARD, INC.,              )
                                             )
16   BLIZZARD ENTERTAINMENT,                 )
     INC., ACTIVISION PUBLISHING,            )
17   INC., and KING.COM, INC, and            )
                                             )
18   DOES ONE through TEN, inclusive,        )
                                             )
19                                           )
                 Defendants.                 )
20                                           )

21         The Court has reviewed Plaintiff EEOC’s Application for Leave to File Under Seal
22   (“Application”) exhibits and declarations in support of its Opposition to the DFEH’s Ex
23   Parte Application to Shorten Time (“Ex Parte Opposition”)—and portions of the
24   Memorandum of Points and Authorities that refer to them—as well as any opposition to
25   or support for the Application. Good cause appearing, the Application is GRANTED.
26         Plaintiff may file the following eight unredacted documents under seal, with the
27   redacted versions to remain on the public docket:
28
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 1    Title of Document                                  Location
 2
      Memorandum of Points and Authorities in            Attached to the Notice of
 3    Support of Ex Parte Opposition                     Opposition to the Ex Parte
 4
      Declaration of Taylor Markey in Support of the Ex. B to Memorandum of Points
 5
      Ex Parte Opposition (“Markey Opp’n Decl.”)     and Authorities in Opposition to
 6
      Ex. 1–6 to Markey Opp’n Decl.                  DFEH’s Ex Parte Application
 7
 8         Plaintiff may file the following sixteen documents under seal in their entirety, with
 9   no redacted versions to be filed on the public docket:
10    Title of Document                                  Location
11    Declaration of Marla Stern-Knowlton in
12    Support of Ex Parte Opposition (“Stern-            Ex. C to Memorandum of Points and
      Knowlton Decl.”)                                   Authorities in Opposition to
13                                                       DFEH’s Ex Parte Application
      Ex. A–N to Stern-Knowlton Decl.
14
15         IT IS SO ORDERED.
16
17   Date: ______________                   By: __________________________________
18                                                Hon. Dale S. Fischer
                                                  UNITED STATES DISTRICT JUDGE
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